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IN THE UNITED STATES DISTRICT COURT 8 20
FOR THE SOUTHERN DISTRICT OF ILLINOIS AUG j ai

CLERK, U.S. DISTRICT COURT

UNITED STATES OF AMERICA, ) SOUTHERN DISTRICT OF ILLINOIS
. ) EAST ST. LOUIS OFFICE
Plaintiff, )
)
VS. CRIMINAL NO, 2]- erat eree DwWo
DELVIN O.E. MILLS, and, ) Title 18, United States Code, Sections 1349,
MARY M. THORNHILL ) 1344, 1028A, and 2
)
Defendants. )
INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1

Conspiracy to Commit Bank Fraud — 18 U.S.C. § 1349
l. On or about July 19, 2021, in Madison County, within the Southern District of

Illinois, and elsewhere,

DELVIN O.E. MILLS, and
MARY M. THORNHILL,

Defendants herein, and others both known and unknown, did knowingly conspire and agree among
themselves and each other to devise and execute a scheme and artifice to obtain money and funds
owned by, and in the custody and control of, financial institutions, including Regions Bank and
Scott Credit Union, the deposits of which were insured by the Federal Deposit Insurance
Corporation and National Credit Share Insurance Fund, by means of materially false and
fraudulent pretenses, representations, and promises, in violation of Title 18, United States Code,
Section 1344(2).

2. The object of the conspiracy and scheme to defraud was for the conspirators to cash
stolen checks and fraudulently obtain funds from financial institutions that they were not entitled

to.
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3. As part of the conspiracy and scheme to defraud, the members of the conspiracy
broke into vehicles and stole checkbooks and IDs—including driver’s licenses—belonging to
various individuals.

4, It was a further part of the conspiracy and scheme to defraud that the conspirators
wrote checks from the stolen checkbooks payable to other persons from whom the group had stolen
IDs.

5. It was a further part of the conspiracy and scheme to defraud that the conspirators
provided to MILLS and THORNHILL the fraudulent checks and the stolen IDs of the persons to
whom the checks were made payable.

6. It was a further part of the conspiracy and scheme to defraud that the conspirators
instructed MILLS and THORNHILL to go to the financial institutions where the persons to whom
the checks were made payable maintained bank accounts.

7. It was a further part of the conspiracy and scheme to defraud that when MILLS and
THORNHILL arrived at the financial institutions, THORNHILL cashed and attempted to cash the
fraudulent checks by presenting the stolen IDs of the persons to whom the checks were made
payable and by posing as those individuals.

8. It was a further part of the conspiracy and scheme to defraud that in order to deceive
the financial institutions into believing she was the individual shown on the stolen IDs,
THORNHILL often wore wigs and otherwise disguised herself to look like the individual.

9. In furtherance of and as a foreseeable consequence of the conspiracy, MILLS and
THORNHILL cashed and attempted to cash several stolen checks made payable to individuals
whose identification documents had been stolen.

All in violation of Title 18, United States Code, Section 1349.
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COUNT 2
Bank Fraud, Aiding and Abetting — 18 U.S.C. §§ 1344(2) and 2

1. The allegations contained in paragraphs 1 through 8 of Count One above are re-
alleged and incorporated herein as if fully set forth again.

2. On or about July 19, 2021 in Madison County, within the Southern District of
Illinois,

DELVIN O.E. MILLS, and
MARY M. THORNHILL

defendants herein, knowingly participated, and aided and abetted each other in participating, in a
scheme to obtain money and funds owned by, and in the custody and control of, financial
institutions, including Regions Bank and Scott Credit Union, the deposits of which were insured
by the Federal Deposit Insurance Corporation and the National Credit Share Insurance Fund, by
means of materially false and fraudulent pretenses, representations, and promises.

3. On July 19, 2021, in Madison County, within the Southern District of ILlinois,

DELVIN O.E. MILLS, and
MARY M. THORNHILL

defendants herein, for the purpose of executing the aforesaid scheme, and attempting to do so, did
knowingly, and with intent to defraud, attempt to execute the scheme to defraud, and aided and
abetted each other in attempting to execute the scheme to defraud, by presenting to Scott Credit
Union, in Wood River, Illinois, the stolen driver’s license of an individual with the initials of L.O.
and the following stolen check, and asked the bank to cash that check:

A check drawn on the account of R.T. at Flora Bank & Trust, in the amount of $3,290.00,
made payable to L.O., bearing the forged endorsement of L.O.

All in violation of Title 18, United States Code, Sections 1344(2).

COUNT 3
Aggravated Identity Theft — 18 U.S.C. § 1028A(a)(1)

On or about July 19, 2021 in Madison County, within the Southern District of Illinois,
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DELVIN O.E. MILLS, and
MARY M. THORNHILL

defendants herein, knowingly possessed and used, without lawful authority, a means of
identification of another person, specifically the driver’s license of L.O., during and in relation to
a felony violation enumerated in 18 U.S.C. § 1028A(c), namely the conspiracy to commit bank
fraud and bank fraud offenses charged in Counts One and Two, knowing that the means of
identification belonged to another actual person.

All in violation of Title 18, United States Code, Section 1028A(a)(1).

COUNT 4
Bank Fraud, Aiding and Abetting — 18 U.S.C. §§ 1344(2) and 2

1. The allegations contained in paragraphs 1 through 8 of Count One and paragraph 2
of Count Two above are re-alleged and incorporated herein as if fully set forth again.
2. On July 19, 2021, in Madison County, within the Southern District of Illinois,

DELVIN O.E. MILLS, and
MARY M. THORNHILL

defendants herein, for the purpose of executing the aforesaid scheme, and attempting to do so, did
knowingly, and with intent to defraud, attempt to execute the scheme to defraud, and aided and
abetted each other in attempting to execute the scheme to defraud, by presenting to Regions Bank,
in Glen Carbon, Illinois, the stolen driver’s license of an individual with the initials of A.D. and
the following stolen check, and asked the bank to cash that check:

A check drawn on the account of T.H. and D.H. at Bank of America, in the amount of
$2,670.00, made payable to A.D., bearing the forged endorsement of A.D.

All in violation of Title 18, United States Code, Sections 1344(2).

COUNT 5
Aggravated Identity Theft — 18 U.S.C. § 1028A(a)(1)

1. On or about July 19, 2021 in Madison County, within the Southern District of Illinois,

DELVIN O.E. MILLS, and
MARY M. THORNHILL

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defendants herein, knowingly possessed and used, without lawful authority, a means of
identification of another person, specifically the driver’s license of A.D., during and in relation to
a felony violation enumerated in 18 U.S.C. § 1028A(c), namely the conspiracy to commit bank
fraud and bank fraud offenses charged in Counts One and Four, knowing that the means of

identification belonged to another actual person.

All in violation of Title 18, United States Code, Section 1028A(a)(1).

A TRUE BILL

SW

FOREPERSON

 

4GE J. GROSS
Assistant United States Attorney

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ShlUtC WEINHOEFT
Date: 2021.08.16 20:53:09 -05'00'
STEVEN D. WEINHOEFT
United States Attorney

 

Recommended Bond: Pretrial Detention
